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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                 )
In the Matter of the                             )
Federal Bureau of Prisons’ Execution             )
Protocol Cases,                                  )
                                                 )
LEAD CASE: Roane, et al. v. Barr                 )       Case No. 19-mc-145 (TSC)
                                                 )
THIS DOCUMENT RELATES TO:                        )
                                                 )
Roane, et al. v. Barr, 05-cv-2337                )
                                                 )

                                              ORDER

        Defendants’ motion for a stay pending appeal, (ECF No. 326), is hereby DENIED, for the

reasons set forth in the court’s November 19, 2020 Memorandum Opinion, (ECF No. 322).

Defendants have not shown a likelihood of success on the merits of their appeal. See Nken v.

Holder, 556 U.S. 418, 434 (2009) (requiring the court to consider, inter alia, the movant has

made “a strong showing that he is likely to succeed on the merits” to warrant a stay). The court

set forth a detailed explanation as to why it believed Plaintiff had a substantial possibility of

success on the merits and why it was unpersuaded by Defendants’ counterarguments. The same

analysis applies here.

        Furthermore, the harm Defendants will suffer is the administrative inconvenience of

having to reschedule an execution. This is far from irreparable. And while the government has

an important interest in the timely enforcement of a death sentence, see In re Fed. Bureau of

Prisons’ Execution Protocol Cases, 955 F.3d 106, 126 (D.C. Cir. 2020) (Katsas, J., concurring),

that interest does not outweigh the public’s interest “in adhering to applicable legal

requirements” in carrying out such an sentence, Execution Protocol Cases, No. 20-5329, slip op.

at 34 (D.C. Cir. Nov. 18, 2020) (Pillard, J., dissenting).

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Date: November 19, 2020

                                  Tanya S. Chutkan
                                  TANYA S. CHUTKAN
                                  United States District Judge




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